Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 1 of 118 PageID #: 394




                      Exhibit A
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 2 of 118 PageID #: 395
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 3 of 118 PageID #: 396
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 4 of 118 PageID #: 397
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 5 of 118 PageID #: 398
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 6 of 118 PageID #: 399
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 7 of 118 PageID #: 400
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 8 of 118 PageID #: 401
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 9 of 118 PageID #: 402
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 10 of 118 PageID #: 403
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 11 of 118 PageID #: 404
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 12 of 118 PageID #: 405
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 13 of 118 PageID #: 406
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 14 of 118 PageID #: 407
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 15 of 118 PageID #: 408
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 16 of 118 PageID #: 409
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 17 of 118 PageID #: 410
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 18 of 118 PageID #: 411
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 19 of 118 PageID #: 412
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 20 of 118 PageID #: 413
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 21 of 118 PageID #: 414
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 22 of 118 PageID #: 415
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 23 of 118 PageID #: 416
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 24 of 118 PageID #: 417




                      Exhibit B
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 25 of 118 PageID #: 418
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 26 of 118 PageID #: 419
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 27 of 118 PageID #: 420
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 28 of 118 PageID #: 421
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 29 of 118 PageID #: 422
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 30 of 118 PageID #: 423
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 31 of 118 PageID #: 424
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 32 of 118 PageID #: 425
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 33 of 118 PageID #: 426
   


                                          
                                          
                                          




                      ([KLELW&




                                          




                  
                                                                               




                                          
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 34 of 118 PageID #: 427
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 35 of 118 PageID #: 428
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 36 of 118 PageID #: 429
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 37 of 118 PageID #: 430
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 38 of 118 PageID #: 431
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 39 of 118 PageID #: 432
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 40 of 118 PageID #: 433
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 41 of 118 PageID #: 434
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 42 of 118 PageID #: 435
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 43 of 118 PageID #: 436




                      Exhibit D
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 44 of 118 PageID #: 437
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 45 of 118 PageID #: 438
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 46 of 118 PageID #: 439
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 47 of 118 PageID #: 440
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 48 of 118 PageID #: 441
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 49 of 118 PageID #: 442
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 50 of 118 PageID #: 443
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 51 of 118 PageID #: 444
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 52 of 118 PageID #: 445
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 53 of 118 PageID #: 446
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 54 of 118 PageID #: 447
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 55 of 118 PageID #: 448
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 56 of 118 PageID #: 449
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 57 of 118 PageID #: 450
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 58 of 118 PageID #: 451
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 59 of 118 PageID #: 452
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 60 of 118 PageID #: 453
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 61 of 118 PageID #: 454
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 62 of 118 PageID #: 455
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 63 of 118 PageID #: 456
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 64 of 118 PageID #: 457
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 65 of 118 PageID #: 458
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 66 of 118 PageID #: 459
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 67 of 118 PageID #: 460
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 68 of 118 PageID #: 461
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 69 of 118 PageID #: 462
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 70 of 118 PageID #: 463
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 71 of 118 PageID #: 464
   


                                          
                                          
                                          




                      ([KLELW(




                                          




                  
                                                                               




                                          
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 72 of 118 PageID #: 465
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 73 of 118 PageID #: 466
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 74 of 118 PageID #: 467
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 75 of 118 PageID #: 468
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 76 of 118 PageID #: 469
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 77 of 118 PageID #: 470
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 78 of 118 PageID #: 471
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 79 of 118 PageID #: 472
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 80 of 118 PageID #: 473
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 81 of 118 PageID #: 474
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 82 of 118 PageID #: 475
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 83 of 118 PageID #: 476
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 84 of 118 PageID #: 477
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 85 of 118 PageID #: 478
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 86 of 118 PageID #: 479
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 87 of 118 PageID #: 480
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 88 of 118 PageID #: 481
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 89 of 118 PageID #: 482
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 90 of 118 PageID #: 483
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 91 of 118 PageID #: 484
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 92 of 118 PageID #: 485
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 93 of 118 PageID #: 486
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 94 of 118 PageID #: 487
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 95 of 118 PageID #: 488
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 96 of 118 PageID #: 489
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 97 of 118 PageID #: 490
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 98 of 118 PageID #: 491
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 99 of 118 PageID #: 492
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 100 of 118 PageID #:
                                     493
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 101 of 118 PageID #:
                                     494
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 102 of 118 PageID #:
                                     495
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 103 of 118 PageID #:
                                     496
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 104 of 118 PageID #:
                                     497
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 105 of 118 PageID #:
                                     498
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 106 of 118 PageID #:
                                     499
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 107 of 118 PageID #:
                                     500
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 108 of 118 PageID #:
                                     501
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 109 of 118 PageID #:
                                     502
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 110 of 118 PageID #:
                                     503
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 111 of 118 PageID #:
                                     504
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 112 of 118 PageID #:
                                     505
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 113 of 118 PageID #:
                                     506
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 114 of 118 PageID #:
                                     507
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 115 of 118 PageID #:
                                     508
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 116 of 118 PageID #:
                                     509
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 117 of 118 PageID #:
                                     510
Case 1:17-cv-00227-JFB-SRF Document 39-1 Filed 01/29/18 Page 118 of 118 PageID #:
                                     511
